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                 United States Court of Appeals
                         FOR THE DISTRICT OF COLUMBIA CIRCUIT



No. 22-3062                                              September Term, 2023
                                                         FILED ON: OCTOBER 20, 2023

UNITED STATES OF AMERICA,
                   APPELLEE

v.

THOMAS ROBERTSON,
                      APPELLANT


                         Appeal from the United States District Court
                                 for the District of Columbia
                                    (No. 1:21-cr-00034-1)


       Before: HENDERSON, PILLARD and PAN, Circuit Judges

                                     JUDGMENT

       This cause came on to be heard on the record on appeal from the United States District
Court for the District of Columbia and was argued by counsel. On consideration thereof, it is

        ORDERED and ADJUDGED that the judgment of the District Court appealed from in
this cause be affirmed, in accordance with the opinion of the court filed herein this date.

                                        Per Curiam


                                                           FOR THE COURT:
                                                           Mark J. Langer, Clerk

                                                   BY:     /s/

                                                           Daniel J. Reidy
                                                           Deputy Clerk


Date: October 20, 2023

Opinion for the court filed by Circuit Judge Pan.
Dissenting opinion filed by Circuit Judge Henderson.
